Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 1 of 17 PageID #:
                                     993
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 2 of 17 PageID #:
                                     994
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 3 of 17 PageID #:
                                     995
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 4 of 17 PageID #:
                                     996
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 5 of 17 PageID #:
                                     997
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 6 of 17 PageID #:
                                     998
Case 5:02-cr-50067-TS-RSP   Document 264   Filed 03/22/06   Page 7 of 17 PageID #:
                                     999
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 8 of 17 PageID #:
                                     1000
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 9 of 17 PageID #:
                                     1001
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 10 of 17 PageID #:
                                     1002
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 11 of 17 PageID #:
                                     1003
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 12 of 17 PageID #:
                                     1004
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 13 of 17 PageID #:
                                     1005
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 14 of 17 PageID #:
                                     1006
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 15 of 17 PageID #:
                                     1007
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 16 of 17 PageID #:
                                     1008
Case 5:02-cr-50067-TS-RSP   Document 264 Filed 03/22/06   Page 17 of 17 PageID #:
                                     1009
